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     Walipini Construction (The Underground Greenhouse)




                                   Revised Version
                                        -2002-
                         Benson Agriculture and Food Institute
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  Introduction: The Walipini (underground or pit greenhouse) in this bulletin is designed
  specifically for the area of La Paz, Bolivia. However, the principles explained in the bulletin
  make it possible to build the Walipini in a wide variety of other geographic and climatic
  conditions. The word ‟Walipini” comes from the Aymara Indian language of this area of the
  world and means ‟place of warmth”. The Walipini utilizes nature’s resources to provide a
  warm, stable, well-lit environment for year-round vegetable production. Locating the growing
  area 6’- 8’ underground      and capturing and storing daytime solar radiation are the most
  important principles in building a successful Walipini.




  I. How the Walipini Works


  The Walipini, in simplest terms, is a rectangular hole in the ground 6 ‛ to 8’ deep covered by
  plastic sheeting. The longest area of the rectangle faces the winter sun -- to the north in the
  Southern Hemisphere and to the south in the Northern Hemisphere. A thick wall of rammed
  earth at the back of the building and a much lower wall at the front provide the needed angle for
  the plastic sheet roof. This roof seals the hole, provides an insulating airspace between the two
  layers of plastic (a sheet on the top and another on the bottom of the roof/poles) and allows the
  suns rays to penetrate creating a warm, stable environment for plant growth.


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  The Earth’s Natural Heat -- Why dig in?
  The earth’s center is a molten core of magma which heats the entire sphere. At approximately
  4’ from the surface this heating process becomes apparent as the temperature on most of the
  planet at 4’ deep stays between 50 and 60º F. When the temperature above ground is cold, say
  10º F with a cold wind, the soil temperature at 4’ deep in the earth will be at least fifty degrees in
  most places. By digging the Walipini into the ground, the tremendous flywheel of stable
  temperature called the ‟thermal constant” is tapped. Thus, the additional heat needed from the
  sun’s rays as they pass through the plastic and provide interior heat is much less in the Walipini
  than in the above ground greenhouse. Example: An underground temperature of 50º requires
  heating the Walipini’s interior only 30º to reach an ambient temperature of 80º. An above
  ground temperature of 10º requires heating a greenhouse 70º for an ambient temperature of 80º.




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  More Free Energy -- The Sun
  Energy and light from the sun enter the Walipini through the plastic covered roof and are
  reflected and absorbed throughout the underground structure. By using translucent material,
  plastic instead of glass, plant growth is improved as certain rays of the light spectrum that inhibit
  plant growth are filtered out. The sun’s rays provide both heat and light needed by plants. Heat
  is not only immediately provided as the light enters and heats the air, but heat is also stored as
  the mass of the entire building absorbs heat from the sun’s rays.


  Heat Storage -- Mass and the Flywheel Effect
  As mass, (earth, stone, water -- dense matter) comes in contact with sunlight, it absorbs and
  stores heat. The more dense the mass (water is more dense than rock and rock is more dense
  than soil) the more energy can be stored in a given area. Mass of a darker color such as flat
  brown, green or black absorbs heat best. Light colors, such as white, reflect heat best. As the
  earthen walls of the Walipini absorb this heat they charge with heat much like a battery charges
  with electricity. This storing of the heat in the mass of the soil is often referred to as the
  ‟flywheel effect”, with the flywheel being charged in the day (storing heat/energy) and spinning
  down or discharging at night as heat/energy flows from the earthen walls out of the greenhouse
  up through the plastic glazing to the colder night air. The amount of heat stored in the mass is a
  critical factor in keeping crops from being frost bitten or frozen during the coldest nights of the
  winter. These critical nights are usually encountered around the time of the winter equinox (June
  21 in the Southern Hemisphere and December 21 in the Northern Hemisphere). The Walipini is
  usually designed to absorb more of the sun’s rays/heat during the three coldest months of the
  winter than during any other time of the year. The key here is to have enough energy stored in
  the mass so that on the coldest nights, the plants are not damaged. In general, nighttime
  temperatures should not be allowed to drop below 45º. This minimum temperature is also
  dependent upon the types of crops being grown, as some are hardier than others and may require
  colder nighttime temperatures. An easy way to increase the mass is to put a few 55 gallon
  drums filled with water and painted flat black along the back wall of the Walipini. Some
  growing space will be lost, but the heated water will greatly enhance mass heat/energy storage
  and will provide preheated water for plant irrigation. Preheated water reduces plant shock, thus,

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  assisting plant growth.
  Cutting Down Heat Loss -- Insulation
  A double layer of plastic sheeting (glazing) should be used on the roof. This provides a form of
  insulation and slows down the escaping of heat during the nighttime. This sealed dead-air space
  between the plastic sheeting should be between 3/4” to 4” thick. Poles used to span the roof that
  are 3.5” to 4” in diameter provide the indicated thickness of dead air space when plastic sheeting
  is affixed to the outside and the inside of the roof’s structure. The inside sheeting also keeps the
  inside humidity from penetrating and rotting the wooden poles spanning the roof.


  All above-ground walls should be bermed with as much soil as possible. This provides some
  extra mass, but provides much more insulation against above-ground cold temperature, winds
  and moisture penetration.


  When nighttime temperatures are continuously well below freezing, insulated shutters made
  from foam insulation board or canvas sheets filled with straw or grass can be placed over the
  glazing. This requires more work and storage, and in many environments is unnecessary, such
  as is the case in the area of La Paz, Bolivia.


  II. Location of the Walipini:


  The Danger of Water Penetration
  Water penetration of the walls and/or floor of the Walipini is destructive. If water seeps through
  the walls, they will collapse. If water comes up through the floor, it will adversely affect plant
  growth and promote plant disease. Dig the Walipini in an area where its bottom is at least 5’
  above the water table. When all of the above ground walls are bermed, a layer of water-proof
  clay, such as bentonite, or plastic sheeting, should be buried approximately 6” to 1’ under the
  berm surface. It should be slanted so that the water drains away from the Walipini to the
  drainage ditches. In some cases where the soil has a low permeability rate, the clay or plastic
  may not be necessary. Be sure to dig a shallow drainage ditch around the perimeter of the
  Walipini which leads run off water well away from the structure.

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  Digging into the Hillside
  Walipinis can be dug into a hillside providing the soil is stable and not under downward
  pressure. Since the Walipini has no footing or foundation, a wall in unstable soil or under
  pressure will eventually collapse.


  Maximizing the Sun’s Energy
  The                                                                                            sun is




  orbited by the earth once a year in an elliptical (oval) path at an average distance of 93M miles.
  The earth spins on its own axis creating the rising and setting of the sun. The earth is tilted at 23
  1/2º from the plane of its solar orbit, which is why the sun appears lower in the sky in the winter
  and higher in the sky in the summer.


  These variables in movement make the location of the sun, both in height and plane, different
  each and every day of the year. However, since the daily difference is minimal, the Walipini can
  be located to maximize heat in any given season. For vegetable production, this maximized
  location is for winter heating of its interior as this will be the most crucial time of the year for
  plant survival.




  Alignment of the Walipini to the Winter Sun

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  Since the sun will come up in the East and go down in the West, the length of the rectangular
  Walipini will stretch from east to west with the tilt angle of the roof facing north towards the
  winter sun in the Southern Hemisphere or towards the south in the Northern Hemisphere.




  This allows                                                                             the largest
  mass, the inside back (the highest) wall, to be exposed to the sun the longest as the sun moves
  across the horizon. Some adjustments can be made for local conditions. If winter conditions
  frequently produce hazy or cloudy mornings or high mountains in the east make for a late
  sunrise, it may be best to locate the Walipini 10-15º to the north west of true east in order keep
  the afternoon sun in the Walipini for a longer period of time. If winter mornings are generally
  clear, it can be located at 10 to 15 º north east of true east to maximize the early morning rays for
  a longer period. Maximum heating will usually take place between 10:00 a.m. and 3:00 p.m.


  Angle of the Roof to the Sun
  In order to make the simple calculation for the best angle of the roof (the plastic glazing) for
  maximum sun penetration at the winter solstice (the shortest day of the year), use the following
  rule of thumb: 1) Obtain a good map and determine the latitude on the globe. La Paz is located
  at 16.4º south of the equator.
  2) Add approximately 23º which will make a tilt angle of 39 - 40º for the La Paz area. This will

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  set the glazing of the roof perpendicular to the sun on the winter solstice, which will maximize
  sun penetration and minimize reflection.




  At the summer                                                                   solstice this
  angle will have the opposite effect and maximize reflection and minimize penetration.




  This angle                                                                            can be
  varied, but will change the basic design of maximizing heat during a winter solstice and
  minimizing it during the summer solstice.
  Azimuth

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  The change in the length of daylight from summer to winter is the result of the azimuth. The sun
  is higher in the sky in the summer and also goes through a much wider plan arc, or
  azimuth, thus making the days longer.


   At 16.4º south latitude, in (La Paz) the summer azimuth is approximately 340º while the winter
  azimuth angle is about 170º. This means that the winter sun rises at 85º east of north and sets at
  85º west of north. Since we are seeking maximum heating in the Walipini on the winter solstice
  (June 21 in the Southern Hemisphere and Dec 21), the orientation of the Walipini and the angle
  of its glazing are designed to facilitate maximum sun penetration at the winter solstice.




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  Obstructions
  Make sure that the Walipini is located so that its face (the roof angle facing the sun) has no
  obstructions such as trees, other buildings, etc. which will obstruct the sun. This is also true of
  the east and west sides of the structure. The only exception to this rule would be a few
  deciduous trees which lose their leaves in the winter. They can provide limited shading in the
  hot summer, but little shade in the winter.


  III. Walipini Design


  Size and Cost Considerations
  The primary considerations in designing the Walipini are cost and year-round food production
  for the family. The minimum recommended size is 8’ x 12’. However, generally speaking, the
  larger the Walipini, the more cost effective per square foot the construction will be. A minimum
  of 94 sq. ft. of growing space per person is recommended for a year-round vegetable supply.
  Thus, for a family of seven people a 12’ x 66’ area = 792 sq. ft. Less 16% for access = 665 sq.
  ft. of growing space divided by 7 people = 94 sq. ft. per person in the La Paz model. Keeping

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  the size of the Walipini manageable and its cost as low as possible are important design
  considerations.




  The Walipini is designed to keep costs as low as possible using the following: 1) Free labor --
  the builder’s and that of friend’s and neighbor’s; 2) Only unlined, inclined, interior earthen
  walls; 3) Traditional concrete footings and foundations are excluded because they are
  unnecessary, when the perimeter of the building is protected from water penetration; 4) Plastic
  ultraviolet (UV) protective sheeting on the top and underside of the roof instead of glass or
  corrugated fiberglass panels; 5) The most economical, durable materials found thus far for
  spanning the roof are 4” eucalyptus poles or PVC pipe; 6) The top soil from the dig is used at
  the bottom for the planting soil; 7) The rest of the soil from the dig is used for the rammed earth
  walls, berms and adobes; 8) Stones and any gravel from the dig are used in the planting area
  drainage system and sump-wells; and 9) Used materials are utilized where possible and practical
  such as used, cleaned 55 gallon oil drums, used doors, etc. It is assumed that only some of the
  materials will have a monetary cost and that labor will have none. The cost of materials will
  vary from location to location and will also vary according to what is available free of cost.
  Materials for the current La Paz models (20’ x 74’) are $250 to $300.


  Venting System
  Venting can become a crucial factor in controlling overheating and too much humidity in the
  Walipini. Too much venting can also be a detriment and, thus, the proper balance must be

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  maintained for optimum plant growth. This balance is dependent upon a combination of the
  factors discussed in the previous three sections. Four methods of venting the Walipini will be
  discussed in ascending order of volume of air ventilation possible in each system. Each method
  has its advantages and disadvantages regarding labor, mass storage, cost, volume of air flow,
  etc.: 1) The first method, currently used in the La Paz model, is that of ventilating by using two
  doors at opposite ends of the building. It requires no additional vents, material, or labor, but it
  lacks the advantage of low to high convection ventilation which can move much greater volumes
  of air sometimes needed, if temperature and humidity climb too high.


  Venting Method # 1




  2) Method two uses the same doors with the addition of a vent of equal size as one of the doors
  when the vent is fully opened. This vent is centered at top of the back wall. It requires less
  rammed earth (labor) in the back wall (the vent area) and it provides a much greater volume of
  air exchange when needed. However, heat storage mass is lost in the back wall where most of
  the heat is collected, more interior surface area is exposed to the outside cold, a lintel must span
  the vent to support the roof poles and additional labor is required to contour and seal the berm at
  the vent on the exterior back wall.




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  Venting                                                                            Method # 2




  3) Method three uses the same doors with an additional trap door type vent of equal size in the
  roof.




  Venting Method # 3




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  This vent is located in the roof at the center, back against the rear wall at the highest point.
  When needed, the                                                                    highest volume
  of air exchange,                                                                    thus far, can be
  obtained and no                                                                     heat-storage mass
  is lost in the back                                                                 wall. However,
  if the operable                                                                     vent in the roof is
  not built                                                                           correctly, even
  when in the                                                                         closed position, it
  will leak rain                                                                      water and will
  allow heated air                                                                    to filter out when
  it is most needed.                                                                  Only a few
  boards for the                                                                      frame and two
  hinges are needed                                                                   to build this 4’ x
  4’ vent.


  4) Method four uses the same doors in conjunction with the addition of a chimney located at the
  bottom center of the rear wall.


  Venting Method # 4




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  This system provides the highest volume and best control of ventilation while retaining mass, but
  it requires more labor, a little more material in the adobes, 4 short vertical poles and a rain
  shield.


   Interior Drainage System
  Keeping moisture from building up to such a degree that it adversely affects plant growth and
  contributes to plant disease is an important aspect of the interior drainage system.
  As the hole for the Walipini is dug, it is excavated to an approximate depth of 1 - 2’ deeper than
  it will be when in operation. This area (1 - 2’ of depth) is filled with stone, gravel and 8” of top
  soil. The larger stones are placed at the bottom with the gravel becoming progressively smaller
  as it meets the layer of top soil. The bottom of the dig will be progressively sloped from the
  center to the ends with a drop of 1/4” per foot. In the La Paz model this means that from the
  center, the bottom of the dig to each end will have an over-all drop of 8.25” (The center to each
  end is 33’ x .25 = 8.25”.). This incline will allow excess water to flow to each end of the
  building. At each end of the building a 2’ x 3’ gravel-filled sump/well deep enough to absorb
  the runoff is found. The top of this sump should be covered with an openable lid so that water
  can be removed with a bucket when and if needed. Moisture content inside of the Walipini can
  also be controlled by the amount and frequency of irrigation, and by venting.




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  Exterior Drainage
   Water is both friend and foe of the Walipini growing system and must be handled appropriately.
  Exterior drainage of excess rainfall away from the Walipini is crucial.




  For this                                                                           reason berms
  must have                                                                          sufficient
  incline away                                                                       from the
  underground                                                                        walls of the
  building to                                                                        move water
  away quickly.                                                                      A minimum
  of a quarter                                                                       inch drop per
  running foot                                                                       is




  recommended.


  Depending upon the porosity of the soil, it may be necessary to bury a layer of clay such as

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  bentonite or a layer of plastic sheeting from the rammed earth wall to the perimeter drainage
  ditch.




  How far the ditch is away from the interior wall of the building will depend upon how effectively
  one can seal the berms and/or move the water away from the building. Most currently-existing
  Walipinis which have had no wall moisture penetration have an average berm length on the high,
  back wall of about 10’, on the front low wall of about 5’ and on the side walls also about 5’.
  These Walipinis are located in heavy clay soil which helps to inhibit water penetration.




  Water Collection Heating/Irrigation System
  This system collects runoff from the roof at the front of the roof in a galvanized metal or PVC
  rain gutter. From the gutter water flows through a pipe into the 55-gallon barrel/drum system
  used for irrigation and mass heat storage.



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  Each of the barrels is connected by overflow piping at the top with the overflow pipe at the last
  barrel exiting at ground level under the back berm to the perimeter drainage ditch.
  In case of a down-pour or continuous excessive rain, it would be wise to have a T pipe/valve at
  the bottom of the gutter so that the runoff can be diverted to an outside perimeter ditch instead of
  moving down to the already full barrel system. How much run off the system can handle in a
  given period of time will depend upon the size of the gutter and the diameter of the pipe used.
  The larger the diameter, the more volume of water can be handled. As previously indicated, this
  system provides not only preheated irrigation water, but a dense solar mass (water) in which
  additional heat is stored for the cold winter nights.


  IV. Building the Walipini


  Tool List
  Hammers, shovels, picks, saws, wheelbarrows, crowbar, forms for rammed earth compaction
  (two 2 ‟ x 12” x 6’ planks held together by 2” x 4” or metal rods or many other type of forms
  can be made), 100’ and 25’ measuring tapes ( If 100’ tape is not available, measure out and mark
  100’ of string or rope), levels, clear hose for corner leveling, cutting knives, hose, nozzle, hand
  compactors, adobe forms, drill, bits, stakes, nylon string, etc.


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  Materials List for a 20' x 74' Walipini
  Water
  20 -- 4” x 16’ poles or PVC pipes to span the roof
   3 -- 3’ x 6’ hinged doors (one is for the 3’ x 5’ vent cover)
   3 -- 3’ x 5’ door frames ( 2 if rear wall vent is not used)
   2 -- 3’ x 6’ door lintels
   1 -- 6’ x 3’ vent lintel or roof frame for vent, if used
  1700 sq.’ of 200 micron agrofilm (polyethylene UV plastic)
  640’ of 1” wood stripping to secure plastic sheeting to the poles
  Shovels, tractor or ox drawn fresno plow to dig hole
  30 cubic. yds. of gravel for the floor drainage system
  1 cubic yds of gravel or stone to fill the 2 drain sumps
  233 cubic yds of soil will come from the excavation
  22 cubic yds of top soil for planting (8” x 66’ x 12’)
  94 cubic yds. for the rammed earth walls
  This will leave a remainder of 109 cubic yds. for wall berms.
  2700 sq’ of plastic sheeting to bury for drainage, if needed
  74 ‛ of drain gutter for the lower end of roof
  100’ of overthrow/drain pipe from gutter through barrel system to perimeter drainage ditch
  Nails
  116 8” x 4” x 12” adobes for the perimeter to seal plastic roof edge


  Laying out the Building
  We will use the La Paz model. Select the site location as explained in section I and measure out
  the 12.5’ x 66’ growing area marking it by driving stakes and stretching string. Now ‟square”
  the area using the tape or the pre-marked rope. Next go along the string line and mark the
  outline of the area to be dug with lime. Set the batter boards and grade stakes using the clear
  hose level or a transit making sure they are all set at the same level. They are used to measure
  for uniform depth of the hole and for uniform level the ground upon which the walls will be
  rammed. If one or more walls are going to be rammed as the soil is removed, also lay out and

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  mark them.


  The Excavation -- Digging the Hole
  The hole should be dug 1’ - 2’ deeper than the growing surface. This allows room for
  rock/gravel fill and then the top soil. Separate the first 8” of top soil from the rest of the soil as
  it will be used as the top soil for growing in the Walipini. The excavation can be hand-dug
  which is made easier by wetting the area first, by an ox or horse-drawn fresno plow/scraper used
  by the pioneers in the USA to dig canals, basements, earthen tanks, etc. or by machine (tractor or
  backhoe). The method used will depend primarily upon the availability of time and money.


  As the soil is removed, remember to pile the soil in areas where it will be used for berming and
  the rammed walls. Moving it the least number of times will reduce labor. (Some of the rammed
  earth walls can be built at the same time the excavation is going on using the soil as it comes
  from the hole). Soil for rammed earth should contain approximately 10% moisture – just moist
  enough to hold its shape after being compresses in your hand.


  Don’t forget to dig the two channels needed for the door entrances at opposite ends of the
  building. It is important to note that all four vertical walls of the dig need to be sloped from the
  bottom to the outside at the top. A minimum of a 6” slope from bottom to top is suggested for a
  6’ high wall. This will greatly reduce soil caving in or crumbling off from the walls over time.




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  The floor should be sloped for interior drainage from the center to each end and sump/wells dug
  at each end before starting to back-fill with gravel and topsoil as explained in the previous
  section. Next place the stones, then gravel at the bottom of the Walipini and in the sumps.. Mix
  the top soil with organic matter and the appropriate fertilizer, as needed, and spread the top soil
  at least 8” thick over the gravel drainage system.


  The door jams (frames) and doors should now be installed at the bottom level of the two ramps
  at the level of the growing surface. Door jams (frames) should be of 2” thick board stock, such
  as 2” x 8”s, with holes drilled at the top, middle and bottom of each side. Wooden stakes,
  dowels, or rebar are then driven through these six holes into the earthen wall in each jam to set
  the doors in plum vertical position (use a level).


  Install the doors making sure they fit as airtight as possible.


  Fill in any air cracks found around the door frames with adobe mud (clay, sand and straw mix).
  This completes the underground portion of the Walipini.




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  The Walls
  Lay out the walls all the way around by dropping back 6” from the edge of the excavation.
  Using the grade stakes as the reference, make sure the soil foundation for the walls is level and
  uniform all the way around the building. Mark the layout of the walls with lime and begin
  ramming them staring at a corner using the ramming form. Mix the soil to approximately 10%
  moisture content before shoveling it into the form. A good rule of thumb for the 10% moisture
  content is -- 1) If the soil holds its shape after being tightly-squeezed in the hand and 2) When it
  is dropped to the ground, if it cracks and crumbles somewhat instead of splatting into a plastic
  mass, the moisture content is about right. If it splats like a mud ball, it is too wet. Before
  starting to ram the soil into the form, wet (not soak to a muddy texture) the soil area at the
  bottom of the form for a better bond between the two surfaces. Start ramming earth into the
  form beginning at one of the corners. When the doors are reached, pin (using rebar stakes) a
  lintel (metal or wood) over each door to support the weight of the wall to be built on top of it.
  The lintel must be as wide as the wall (18” to 3’), a foot longer on each side than the width of the
  door (5’ for the 3.0 door) and approximately 4” thick, if using wood. (The 4” poles used to span

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  the roof, cut in to 5’ lengths laid side by side and wired and/or nailed together on top of the door
  frame may be sufficient. Continue moving the form and ramming the first course/level of earth
  until the first level is completed all the way around the building. As the form is set for the next
  courses as the wall goes up, always check with a level to make sure that the walls are straight up
  and down (perpendicular to the ground) and not leaning to one side or the other.


  Begin the second course of rammed earth on top of the first at the mid-point of the first form that
  was rammed. This will cause the vertical joints of each form length to be staggered and greatly
  increase the strength of the wall.


  Be sure to wet the exposed surface of the soil at the bottom of the form each time before
  beginning to ram. This will increase the adhesion of the horizontal joints and strengthen the
  wall. Continue until the proper height has been reached on each wall. If the middle, top-of-the-
  back-wall vent is used, leave the appropriate 3’ high by 6’ long hole here by skipping this area
  during the last few courses of ramming. This will need to be spanned with a 2” thick wooden
  lintel (with a vertical support post at the center) for the roof poles to be nailed to. The end walls
  will need to be cut with shovels at the appropriate 39-40º angle for the perpendicular roof angle
  needed to the sun at the winter solstice. Also, the high and low walls will need some shaping to
  accommodate this same angle, as the poles spanning the roof glazing are laid into them at 39º -
  40º. This completes the walls. If the walls are located correctly, a 6” shelf will exist around the
  entire inside of the building between the bottom of the rammed walls and the top of the dug out
  walls. This shelf can serve many purposes, but during the ramming of the walls it provides
  enough of a surface between the bottom of the wall being rammed and the top of the dug wall to
  prevent cave-ins along the dug out walls.


  Roof and Glazing
  Recheck and make sure that the angle of the roof is approximately 39º to 40º so it will be
  perpendicular to the sun’s rays on the winter solstice. Next place the twenty 4” x 16’ long poles
  on 4’ centers spanning the roof beginning at one end of the growing area which will place the
  18th pole at the other end of the growing area. Poles 19 and 20 are placed at the ends 4’ from

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  poles 1 and 18 so that there is minimum 1’ overhang over the two doors on the ends of the
  building.


  Little overhang on the front and back walls is needed, if plastic sheeting is used to protect the
  immediate area from erosion and water penetration. Before pinning the poles into the tops of the
  back and front walls, place a sheet of plastic running the full length of the interior of the
  building, including the overhangs, at both the top and bottom so that this interior glazing will be
  staked down with the end of each pole. Drill a hole in each pole and stake it into the rammed
  earth with rebar, a wooden stake or dowel. Fill the wall in between each pole with adobe mud
  the width of the wall following the angle of the poles. This will seal the area between each of
  the poles to prevent outside air from coming in and inside heated air venting to the outside. Now
  cover the entire exterior of the roof with the plastic sheeting overlapping each joint at least 6” to
  minimize air leakage and securing each overlap with wood stripping and nails at one of the
  poles. Nail stripping the full length of each pole to secure the plastic and to prevent wind
  damage. Place a single course of adobes all the way around the perimeter of the roof with the
  exception of the bottom side where the water runs off into the gutter system. This will secure the
  boarder of the plastic to the walls. On the lower wall the plastic must run down to the gutter
  system unobstructed so the water freely follows this course.


  Now go inside the Walipini and finish lining the underside of the poles/roof with the plastic
  securing it with nailed stripping as well. Make sure to seal the overlaps to prevent heated air and
  moisture in the growing area from entering the dead 4” insulation air space. Now check all areas
  where the poles and plastic join the roof for open spaces that will leak air and fill them with
  adobe mud from the inside and the outside.


  Next return to the outside and install the rain gutter at the lower end of the roof so that it will
  catch all of the run off from the glazing. Make sure that the gutter is lower at the end where the
  distributions of the water will take place. At the gutter exit install a T-pipe so that water can be
  directed to the nearest surface drain ditch and/or inside to the barrel water
  storage/heating/overflow system.

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  Run a pipe from the T valve inside above the door and over to the first barrel in the corner. Then
  run additional pipe for overflow from the first to the last barrel and then an exit pipe from the
  last barrel through the back wall of the Walipini over to the nearest surface drainage ditch. The
  roofing system is now completed.


  Berming and Exterior Drainage
  We now berm the exterior walls. The thicker and higher the berms the more mass and insulation

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  we add to the above-ground portion of the structure which will improve its performance. At the
  same time, however, we need to maintain a sufficient drop angle on the berm surface for
  drainage and/or bury plastic in the berm to accomplish this. In some soils both may be
  necessary. Regardless of how long the berms are, plastic should be placed all the way around
  the perimeter of the building at the top of the wall just under the poles (roof line) so that rain
  water flows away from the point where the wall and the berm meet. Berming up to the doors can
  only go as close as dirt mounds permit unless retaining walls are built, which may or may not be
  necessary. The doors could also be insulated by attaching foam board to both the inside and
  outside of the doors, if, once the Walipini is functioning, more heat retention is needed. A
  shallow drainage ditch should be dug around the perimeter of the entire building where the berm
  reaches ground level. The primary purpose for the ditch is to collect both exterior and interior
  excess run off and lead it well away from
  the Walipini.


  Venting Systems
  The first two venting systems have already been treated. The last two venting systems require
  additional construction. The third simply requires the making of a frame (approximately 4’ x 4’
  x 4” thick in size which will allow the 4’ on-center poles to be used for the roof side mounting
  of the vent roof hinges) covered with plastic sheeting both top and bottom. It should be located
  in the middle of the roof of the building at its highest point -- against the back wall. Make sure
  that the plastic on the top of the trap door overlaps the edges of the hole by at least 6 ‟ all the
  way round for a better water/air seal. This trap door can be opened from below and set at
  different apertures according to venting needs. The forth system requires the building of a
  chimney with its highest point (not including the rain shield) at a minimum of 2’ above the apex
  of the roof of the structure. Air flow is controlled by a vertical sliding cover at the chimney
  opening inside of the building and by the two doors.


  Completion and Charging
  The basic structure of the Walipini is now finished and it is almost ready for planting. Once the
  Walipini is finished, it should be rechecked for air leaks and any found should be properly

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  sealed. Smoke generated inside the Walipini escaping to the outside will indicate where more
  sealing still needs to be done. Once it is confirmed that the building will seal properly, it should
  then be left with all doors and/or vents closed so that the mass can begin to charge with heat.
  Once interior temperatures are 45º and above at the coldest part of the night (3:00-4:00 a.m.), the
  Walipini is ready for planting the first crop. As experience is gained working with the system,
  learning how to fine-tune and balance the variables of heat, cold, mass, ventilation, humidity,
  water, drainage, etc., to maximize production will become more and more natural.




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